                 Case: 1:14-cv-03509 Document #: 1 Filed: 05/13/14 Page 1 of 6 PageID #:1



                                       T'I\I.ITED STATES DISTRICT COURT
                                                                              RECEIVED
                                       NORTIIERN DISTRICT OF ILLINOIS
                                                 WESTERN DIVISION                   MAY   I 3 2014
                                                                                                     me
                                                                                 THOMAS G. BRUTON
                                                                              CLERK, U.S. DISTRICT COURT

 CAnu et              ilnc   l'(5a 4




 @nter above the full name                                  1:14-cv-03509
 of the plaintiffor plaintiffs in                           Judge Gary Feinerman
 this action)
                                                            Magistrate Judge Michael T. Mason
                                                     Case No:
                                                     (To be supplied by the Clerk of this   Court)
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  .S    [,'n   e-r   .'rc




@nterabove the full name of ALL
defendants in this action. Dg not
use "et al.")

CHECK ONE ONLY:
  \,/                  coMpLNNT ITNDERTI{E CryIL RTGIITS ACT, TITLE42SECTION                1983
                       U.S. Code (state, county, or municipal defendants)

                      COMPLAINT T]NDER TIIE CONSTITUTION (''BTVENS'' ACTIOI9, TITLE
                      28 SECTION 1331 U.S. Code (federal defendants)

                      OTIIER (cite statute, if known)

BEFORE FILLING OUT THIS COMPIIUNT,PLEASE REFER TO NINSTRUCNONS FoR
FILING,N FOLLOIY THESE INSTRACTIONS CAREFULLY
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       Plaintiff(s):

      A.       Name:

      B.       List all aliases:

      C.       Prisoneridentificationnumber:

      D.       Place of present confinement:

      E.      Address:

      (fthere is more than one plaintiff, then each plaintiffmust list his or her name, aliases, I.D.
      number, place of confinement and current address according to the above format on a
      separate sheet of paper.)

II"   Defendant(s):
      (In A below, place the full name of the frst defendant in the first blank, his or her offrcial
      position in the second blank, and his or her place of employment in the third blank. Space
      for two additional defendants is provided in B and C.)

      A.      Defendant:

              Title:

              Place of Employment:

      B.      Defendant:




              Place of Employment:

      C.      Defendant:

              Title:

              Place of Employment:

      (If you have more than three   defendants, then all additional defendants must be listed
      according to the above format on a separate sheet of paper.)




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m.   List ALL lawsuits you (aqdyour co-plainffis, if any) have filed in any state orfederal
     court in the United States:

     A.     Name of case and docket number:



     B.     Approximate date of filing lawsuit:

     C.     List all plaintiffs (if you had co-plaintiffs), including any aliases:




     D.     List all defendants:




"    E.     Court in which the lawsuit was filed (if federal court, niune the district; if state court,
           nuune the  county):

     F.    Name ofjudge to rryhom case was assigned:


     G.    Basic claimmade:




     H.    Disposition of this case (for exanrple: Was the case dis;missed? Was it appealed?
           Is itstill pending?):




     I.    Approximate date of disposition:


IF YOU HAVE rILED MORE TIIAN OI\E LAWSTIIT, TIIEN YOU MUST DESCRIBE TIIE
ADDITIONAL LAWSTITTS ON AI\IOTIIER PIECE OF PAPER, USING TIIIS SAME
X'ORMAT. REGARDLESS OF HOW MAIYY CASES YOU IIAVE PREVIOUSLY FILED,
you WILL NoT BE EXCUSED FROM FILLTNG OUT THrS SECTION COMPLETELY,
Ai\iD FAILTJRE TO DO SO MAY RESULT IN DISMISSAL O[' YOUR CASE. CO.
PLAINTIT'FS MUST ALSO LIST ALL CASES TIIEY IIAVE FILED.




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ry.     Statement of Claim:

        State here as briefly as possible the facts of your case. Describe how each defendant is
        involved, includingnames, dates, andplaces. Donotgive anylegatarguments orciteany
        cases or stafutes. If you intend to allege a number of related claims, number and set forth
        each.claim in a separate paragraph. (Use as much space as you need. Attach exha sheets
 .      if   necessary.)

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Relief:

State briefly exacfly what you wantthe   courtto do foryou. Make no legal arguments. Cite
no cases or statutes-




                                                                                                eos,
                                                                                               63




Theplainfiffdemandsthatthecasebetriedbyajury.                tr YES EX NO

                                                  CERTIFICATION

                     By signing this Complaint, I certiff that the facts stated in       this
                     Complaint are true to the best of my knowledge, information and
                     belief. I understand that if this certification is not correc! I may be
                     subject to sanctions by the Court.

                     signed tui,   / &Y      a   uy   ot I      ,   zo   IV




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                    (.D. Number)

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                    (Address)


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